 

 

Case 21-15377 Doc 34 Filed 10/18/21 Page 1of4

IN THE UNITED STATES BANKRUPTYCY COURT
FOR THE DISTRICT OF MARYLAND

IN RE:

*

BC CONCRETE OF CUMBERLAND, INC.

Debtor

ROGER SCHLOSSBERG,

INTERIM TRUSTEE

18421 Henson Blvd., Suite 201

Hagerstown, MD 21742
Movant

Vv.

MARY ROBIN DETRICK
109 North Chase Street
Cumberland, MD 21502

and

CHADWICK J. STEINER
c/o Gorman E. Getty [1
Gorman E, Getty III, PA

Post Office Box 1485

23 Washington Street
Cumberland, MD 21502-1485

SERVE ON:

Gorman E, Getty III

Gorman E. Getty TI, PA

Post Office Box 1485

23 Washington Street
Cumberland, MD 21502-1485

and

MARSHA STEINER
Personal Representative of the
Estate of John G. Steiner

714 Nemacolin Avenue
Cumberland, Maryland 21502

*

Bankruptcy No. 21-15377-MCR
(Chapter 7)

*

 
 

 

Case 21-15377 Doc 34 _ Filed 10/18/21 Page 2of4

SERVE ON: *
Gorman E, Getty III

Gorman E. Getty III, PA *
Post Office Box 1485

23 Washington Street *

Cumberland, MD 21502-1485

and
EY
U.S. SMALL BUSINESS ADMINISTRATION
2 North Street, Suite 320
Birmingham, AL 35203

SERVE ON:

Office of General Counsel *
409 3 Street, SW

Washington, DC 20416 *
SERVE ON: *
Merrick Garland, Attorney General
U.S. Department of Justice *
950 Pennsylvania Avenue, NW
Washington, DC 20530 **
SERVE ON: *
Jonathan Lenzner,

*

Acting United States Attorney
36 S. Charles Street, 4 Floor
Baltimore, MD 21201 *

Respondents

 

CONSENT ORDER GRANTING SUBSTITUTION OF ATTORNEY
FOR BTA CONCRETE, LLC, AN INTERESTED PARTY

 

NOTICE IS HEREBY GIVEN that, subject to approval by the Court, BTA Concrete, LLC
substitutes Jason C. Buckel (Bar No. 24766), T. Lee Beeman Jr. (Bar No. 19613), and the jaw firm
of Buckel, Levasseur, Pillai & Beeman, LLC as counsel of record in place of Terri Ann Lowery

(Bar No. 10055) and the law firm of Trozzo, Lowery & Weston.

 

 
 

Case 21-15377 Doc 34 _ Filed 10/18/21 Page 3of4

Contact information for new counsel is as follows:

Jason C. Buckel (Bar No. 24766)

T. Lee Beeman Jr. (Bar No. 19613)
Buckel, Levasseur, Pillai & Beeman, LLC
206 Washington Street

Cumberland, Maryland 21502

Tel. (301) 759-3700

Fax. (301) 722-0334

Email: blplaw@atlanticbbn.net

Email: Lbeeman@blpblaw.com

I, Dave Weimer, managing member of BTA Concrete, LLC, consent to the above substitution.

io Lig} ] =
Date ave Weirher
Managing Member
BTA Concrete, LLC

I, Terri Ann Lowery, consent to being substituted.

 

 

Date Terri Ann Lowery

We, Jason C. Buckel and T. Lee Beeman, Jr., consent to the above substitution.

16 [14 [2

 

 

 

 

Date fapon' Buckel
io / /4 / z/ —T EE
Date T. Lee Beeman, Jr.

The substitution of attorney is hereby approved and so ORDERED.

 

 

Date Judge

 
Case 21-15377 Doc 34 Filed 10/18/21 Page 4of4

Contact information for new counsel is as follows:

Jason C. Buckel (Bar No. 24766)

T. Lee Beeman Jr. (Bar No. 19613)
Buckel, Levasseur, Pillai & Beeman, LLC
206 Washington Street

Cumberland, Maryland 21502

Tel. (301) 759-3700

Fax. (301) 722-0334

Email: bIplaw:a atlanticbbn.net

Email: Lbeeman « blpblaw.com

I, Dave Weimer, managing member of BTA Concrete, LLC, consent to the above substitution.

 

 

Date Dave Weimer
Managing Member
BTA Concrete, LLC

I, Terri Ann Lowery, consent to being substituted.

Date Totti Ann Lowery \
~ KS

We, Jason C. Buckel and T. Lee Beeman, Jr., consent to the above substitution.

 

 

Date Jason C. Buckel

 

 

Date T. Lee Beeman, Jr.

The substitution of attorney is hereby approved and so ORDERED.

Date Judge
